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 8
                              IN THE UNITED STATES DISTRICT COURT
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                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                         SAN FRANCISCO DIVISION
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13   DERRICK CLARK, et al.,                                 C 96-1486 CRB
14                                          Plaintiffs, STIPULATION REGARDING JOINT
                                                        INTERVIEWS CONDUCTED BY THE
15                  v.                                  PARTIES AS PART OF THE JOINT
                                                        MONITORING AND/OR AUDITING
16                                                      PROCESS; ORDER
     STATE OF CALIFORNIA, et al.,
17
                                          Defendants.       Judge         The Honorable Charles R.
18                                                                        Breyer
                                                            Action Filed: April 22, 1996
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           The parties stipulate that:
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           1. On September 16, 2010, this Court issued its Findings of Fact and Conclusions of Law
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     denying Defendants’ Motion to Terminate the Settlement Agreement. (Doc. 500.)
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           2. Since that date, the parties have agreed to conduct joint monitoring of the CDCR’s
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     adherence with the Developmental Disability Program. Additionally, the parties are working
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     together to finalize an auditing tool to further improve the auditing process. An important
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     element of joint monitoring and/or auditing is joint interviews of class members. The perspective
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                                                                     Stip. Re: Joint Interviews (C 96-1486 CRB)
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     of class members is one of several methods that allow the parties to evaluate CDCR’s adherence
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     with the Developmental Disability Program.
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           3. To effectively monitor and/or audit CDCR’s adherence with the Developmental
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     Disability Program, the parties must gather sufficient information to provide operational oversight
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     and management of the program. This process includes class member interviews, as well as
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     gathering information through review of written materials and staff interviews.
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           4. The parties agree that any comments or statements made by a class member in an
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     interview conducted for the purpose of joint monitoring and/or audits shall not be admissible as
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     evidence by either party, unless agreed to by both parties. The parties further agree that the final
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     joint monitoring reports that rely in part on the findings derived from the statements of class
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     members in the interviews are admissible as evidence.
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           5. Nothing in this agreement prohibits CDCR staff from interacting with inmates in the
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     Developmental Disability Program, documenting that interaction, and/or using information
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     exchanged in the normal course and scope of work to ensure adherence with the Developmental
15
     Disability Program.
16

17   Dated:                                                        //s// Sara Norman
                                                                   Sara Norman, Esq.
18                                                                 Prison Law Office
19                                                                 Counsel for Plaintiffs

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21
     Dated:                                                        //s// Danielle F. O’Bannon
22                                                                 Danielle F. O’Bannon
                                                                   California Attorney General’s Office
23                                                                 Counsel for Defendants
24         Per the parties’ stipulation, IT IS SO ORDERED.                       S DISTRICT
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     Dated: July 16, 2014                                               IT IS S
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                                                                   Honorable Charles R. Breyer
                                                                   United StatesarDistrict reyerJudge
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27                                                                               Judge C
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                                                                   Stip. Re: Joint Interviews (C 96-1486 CRB)
